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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,                                     Case No. 15-20310

vs.                                                            HON. MARK A. GOLDSMITH

KEVIN LORENZO WALLER,

            Defendant.
__________________________________/

                            ORDER
 DENYING DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE (Dkt. 121)

       Upon motion of Defendant (Dkt. 121) for a reduction in sentence under 18 U.S.C. §
3582(c)(1)(A), and after considering the applicable factors provided in 18 U.S.C. § 3553(a) and
the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

      ☐ GRANTED

     ☐ DEFERRED pending supplemental briefing. The Court directs the United States Attorney
to file a response on or before                                            , along with all Bureau of
Prisons records (medical, institutional, administrative) relevant to this motion. The Court grants
leave to file any records with personal or sensitive information under seal. If Defendant desires
to file a reply brief in support of the motion for compassionate release, the brief is due on or before
_________________.

      ☒ DENIED after complete review of the motion on the merits.

    ☐ DENIED WITHOUT PREJUDICE because Defendant has not exhausted all
administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since
receipt of Defendant’s request by the warden of Defendant’s facility.

         SO ORDERED.

Dated: October 26, 2020                                s/Mark A. Goldsmith
       Detroit, Michigan                               MARK A. GOLDSMITH
                                                       United States District Judge
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                                CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record and any
unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
addresses disclosed on the Notice of Electronic Filing on October 26, 2020.

                                                     s/Karri Sandusky
                                                     Case Manager
